                      Case 2:10-cr-00080-wks Document 706 Filed 10/27/15 Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of2 (Page 2 Not for Public Disclosure)
                                                                                                                              '    {"  ':   .. -. ·~·
                                                                                                                                                  '   ..,_



                                        UNITED STATES DISTRICT COURT                                                      DlsTF:lc;r./L_-::~p·:f'io~n
                                                                        for the
                                                       Judicial        District of - -Vermont
                                                                                       ----

                    United States of America
                                   v.                                      )
                                                                           ) Case No:
                                                                           )                   2:10CR80-002
                                                                                               --~~~--------------------
                           Andres Malave
                                                 )) USM No: ----------------------------
                                                            07414-082
Date of Original Judgment:         06/16/2011
Date of Previous Amended Judgment: - - - - - - - )
(Use Date ofLast Amended Judgment ifAny)                                        Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ~the defendant D the Director of the Bureau of Prisons D the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §lBl.lO
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           D DENIED. ~GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of      188        months is reduced to               151 months
                                                (Complete Parts I and II ofPage 2 when motion is granted)




Except as otherwise provided, all provisions ofthe judgment dated --;;r--.---=-----
                                                                       06/16/2011   shall remain in effect.
IT IS SO ORDERED.                           /

Order Date:             /P;{7 /(S
                             t


Effective Date:               11/0112015                                       Hon. William K. Sessions III, United States District Judge
                    ~~~~--~~~

                     (if different from order date)                                                    Printed name and title
